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                 Attorneys for Defendants
          11     UNITED HEALTHCARE INSURANCE COMPANY
                 and UNITED BEHAVIORAL HEALTH
          12

          13
                                                 UNITED STATES DISTRICT COURT
          14
                                              NORTHERN DISTRICT OF CALIFORNIA
          15
                                                      SAN FRANCISCO DIVISION
          16
                 LD, DB, BW, RH, and CJ, on behalf of            Case No. 4:20-cv-02254-YGR-JCS
          17     themselves and all others similarly situated,
          18                            Plaintiffs,              DECLARATION OF LAUREN M. BLAS IN
                                                                 SUPPORT OF JOINT LETTER
          19            v.                                       SUBMISSION REGARDING DISCOVERY
                                                                 DISPUTE
          20     UNITED HEALTHCARE INSURANCE
                 COMPANY, a Connecticut Corporation,
          21     UNITED BEHAVIORAL HEALTH, a
                 California Corporation, and MULTIPLAN,          Hon. Joseph C. Spero
          22     INC., a New York Corporation,
          23                            Defendants.
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Gibson, Dunn &       DECLARATION OF LAUREN M. BLAS IN SUPPORT OF REQUEST FOR LEAVE TO FILE EXHIBIT IN
Crutcher LLP
                            SUPPORT OF JOINT LETTER SUBMISSION REGARDING DISCOVERY DISPUTE
                                               CASE NO. 4:20-CV-2254-YGR-JCS
                      Case 4:20-cv-02254-YGR Document 121-1 Filed 03/28/22 Page 2 of 2


            1              I, Lauren M. Blas, state and declare as follows:
            2              1.     I am a partner at Gibson, Dunn & Crutcher LLP, and counsel of record for Defendants
            3    United Healthcare Insurance Company (“UHC”) and United Behavioral Health (“UBH”) (together,
            4    “United Defendants”) in the above-captioned case. I have personal knowledge of the facts set forth
            5    in this Declaration, and, if called as a witness, could and would testify competently to such facts
            6    under oath.
            7              2.     I submit this declaration under Local Rule 7-11 in support of United Defendants’
            8    Request for Leave to File Exhibit in Support of their Joint Letter Submission Regarding Discovery
            9    Dispute. Specifically, United Defendants seek leave to file the Declaration of Rebecca Paradise as an
          10     exhibit to the parties’ Joint Letter Submission Regarding Discovery Dispute (Dkt. 120).
          11               3.     On March 21, 2022, Plaintiffs’ counsel notified counsel for United Defendants via
          12     email that they would not agree to file the Declaration of Rebecca Paradise with the parties’ Joint
          13     Letter.
          14               I declare under penalty of perjury that the foregoing is true and correct.
          15               Executed on March 28, 2022.
          16

          17                                                                     _____/s/ Lauren M. Blas_____________
          18                                                                         Lauren M. Blas
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Gibson, Dunn &       DECLARATION OF LAUREN M. BLAS IN SUPPORT OF REQUEST FOR LEAVE TO FILE EXHIBIT IN
Crutcher LLP
                            SUPPORT OF JOINT LETTER SUBMISSION REGARDING DISCOVERY DISPUTE
                                               CASE NO. 4:20-CV-2254-YGR-JCS
